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 7
 8                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10
     NOEL GAUTIER, an individual;          ) CASE NO. CV20-08091 DMG(PDx)
11   MATTHEW HORTON, an individual; ) Hon. Judge Dolly M. Gee, Ctrm 8C, 1st Street
     and USA DIRECT WHOLESALE, INC., ) Mag. Judge Patricia Donahue, Ctrm 580, Roybal
12   a private                             )
     entity,                               )
13                                         ) DEFENDANTS’ SEPARATE
                           Plaintiffs,     ) STATEMENT OF UNDISPUTED FACTS
14                                         ) AND CONCLUSIONS OF LAW
                  vs.                      )
15                                         ) [Filed concurrently with Defendants’ Notice
     LOS ANGELES POLICE                    ) of Motion and Motion for Summary
16   DEPARTMENT, a municipal entity;       ) Judgment; Declarations; Exhibits; and
     CITY OF LOS ANGELES, a municipal ) Proposed Judgment]
17   entity; OFFICER ALVARO GARZON, )
     an individual; and DOES 1 through 50, ) Date: October 14, 2022
18   inclusive                             ) Time: 9:30 a.m.
                                           ) Court: 8C
19                           Defendants. )
                                           )
20
21     TO THE HON. DOLLY M. GEE, UNITED STATES DISTRICT COURT
22 JUDGE, AND TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
23     Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule 56-1,
24 Defendants CITY OF LOS ANGELES, LOS ANGLES POLICE DEPARTMENT, and
25 OFFICER ALVARO GARZON (“Defendants”) hereby submit their Separate Statement
26 of Undisputed Material Facts and Conclusions of Law in support of the Motion for
27 Summary Judgment.
28



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 1                          UNDISPUTED MATERIAL FACTS
 2
 3   No. Defendants’ Undisputed Facts and                 Plaintiffs’ Disputed Facts and
         Supporting Evidence                              Supporting Evidence
 4
     1    UF: The percentage of delta-9 THC in
 5        marijuana cannot be determined by sight or
          smell or on-site field testing.
 6
          Evidence: Ceccia Depo at 21:23-25; 22:1;
 7        Holloman Depo at 21:3-7—Attached as
          Ex. 6 (Ceccia Depo) and Ex. 7 (Holloman
 8        Depo) to DCA Shant Taslakian
          declaration
 9
10        Defendants’ Response:
11
12   2    UF: Even if delta-9 cannot be detected
13        through plain view or smell, marijuana and
          hemp may still exhibit perceptible
14        differences.

15        Evidence: Garzon Depo at 36:3-17—
          Attached as Ex. 5 to DCA Shant Taslakian
16        declaration

17        Defendants’ Response:
18
19   3    UF: Hemp is not typically sold by retail
20        cannabis stores. Stores that do carry hemp
          usually inform customers that a particular
21        product is hemp and clearly mark it as such.

22        Evidence: Ceccia Depo at 23:13-19;
          Garzon Depo at 36:15-17—Attached as Ex.
23        6 (Ceccia Depo) and Ex. 5 (Garzon Depo)
          to DCA Shant Taslakian declaration
24
25        Defendants’ Response:

26
27   4    UF: Hemp-only stores usually do not have
          a security buzz door and there is usually
28        signage that say hemp-only or CBD-only in
          front of the store or on the store’s website.


                                                 2
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          Evidence: Garzon Depo at 20:4-17; 49:23-
 1        25; 50:1-10—Attached as Ex. 5 to DCA
          Shant Taslakian declaration
 2
 3        Defendants’ Response:
 4
 5   5    UF: No such signage was present here and
          when executing the search warrants, no one
 6        at the store told Officer Garzon they were
          selling hemp rather than marijuana.
 7
          Evidence: Garzon Depo at 20:4-17; 21:19-
 8        24; 49:23-25; 50:1-10—Attached as Ex. 5
          to DCA Shant Taslakian declaration
 9
10        Defendants’ Response:
11
12   6    UF: During an undercover controlled buy
13        at the store, Detective Oliver Malabuyo told
          the employee helping him: “I said that I
14        needed some weed; I needed the good stuff.
          Something to that effect. And I specifically
15        said, ‘I don’t want this CBD or hemp. I
          want the,’ I guess you could say, ‘good
16        shit.’”

17        Evidence: Malabuyo Depo at 37:22-25-
          38:1-3 and Jan. 6, 2020 Search Warrant at
18        10—Attached as Ex. 10 (Malabuyo Depo)
          to DCA Shant Taslakian declaration and
19        Ex. 2 (Jan. 6, 2020 Search Warrant) to
          Officer Alvaro Garzon declaration
20
21        Defendants’ Response:

22
23   7    UF: Lab testing is needed in order to
          determine the percentage of delta-9 THC
24        present in any submitted sample

25        Evidence: Ceccia Depo at 23: 20-23;
          Holloman Depo at 19:17-20—Attached as
26        Ex. 6 (Ceccia Depo) and Ex. 7 (Holloman
          Depo) to DCA Shant Taslakian declaration
27
28        Defendants’ Response:



                                                3
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 1   8    UF: . Samples submitted for testing
          revealed a delta-9 THC concentration of
 2        0.45 percent (November 26, 2019 seizure)
          and 0.28 percent (January 6, 2020 seizure)
 3
          Evidence: Nov. 26, 2019 Lab Results at 2;
 4        Jan. 6, 2020 Lab Results at 2—Attached as
          Ex. 8 (Nov. 26 Results) and Ex. 9 (Jan. 6
 5        Results) to Kareem Kassem Declaration
 6
          Defendants’ Response:
 7
 8
     9    UF: The compound listed as “Δ9THC” in
 9        the lab results reflects the delta-9 THC
          concentration in the submitted samples. The
10        “Total THC” level listed is comprised of
          the delta-9 THC and THCa percentages.
11
          Evidence: Kassem Declaration at ¶ 8
12
13        Defendants’ Response:
14
15   10   UF: The LAPD lab could not determine if a
16        sample had less than .03 percent THC,
          which would make it legal hemp. Nor could
17        it determine if a sample had between .03
          percent and 1 percent THC, which would
18        make it illegal marijuana. The detective
          who authorized the searches at issue here
19        did not learn this until well after the
          January 6, 2020 search.
20        Evidence: Holloman Depo at 27:21-25;
21        28:2-11; Kiley Depo at 56:17-25—
          Attached as Ex. 7 (Holloman Depo) and
22        Ex. 11 (Kiley Depo) to DCA Shant
          Taslakian declaration
23
24        Defendants’ Response:

25
26   11   UF: If police or prosecutors wanted testing
          below the 1 percent threshold, the LAPD
27        lab would refer them to outside labs.

28        Evidence: Holloman Depo at 44:18-24;
          45:20-25; 46:1-3—Attached as Ex. 7 to
          DCA Shant Taslakian declaration

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 1        Defendants’ Response:
 2
 3   12   UF: In November 2019, LAPD Detective
          Kiley learned that concerned citizens were
 4        complaining about an illegal cannabis
          business at 4501 W. Pico in Los Angeles
 5        (Blvck Label Cannabis). On November 4,
          2019, Detective Kiley and LAPD Narcotics
 6        Officer Guerrero conducted surveillance at
          the store.
 7
          Evidence: Nov. 26, 2019 Search Warrant at
 8        8-9—Attached as Ex. 1 to Officer Garzon
          Declaration
 9
10        Defendants’ Response:
11
12   13   UF: In November 2019, Detective Kiley
13        logged onto the Bureau of Cannabis
          Control website, which revealed that Blvck
14        Label Cannabis was not on the list of
          authorized cannabis businesses in the State
15        of California.

16        Evidence: Nov. 26, 2019 Search Warrant at
          8-9—Attached as Ex. 1 to Officer Garzon
17        Declaration

18        Defendants’ Response:
19
20   14   UF: Officer Garzon then conducted an
21        internet search for “Blvck Label Cannabis”
          and found the store on Weedmaps. The
22        website listed Blvck Label Cannabis as a
          cannabis business, open from 10:00 a.m. to
23        10:00 p.m., at 4501 W. Pico Blvd.

24        Evidence: Nov. 26, 2019 Search Warrant at
          8-9—Attached as Ex. 1 to Officer Garzon
25        Declaration

26        Defendants’ Response:
27
28
     15   UF: On November 10, 2019, Officer
          Garzon conducted an undercover controlled
          buy at the store, purchasing $40 worth of
                                                5
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          cannabis. On November 12, 2019, Garzon
 1        conducted another undercover controlled
          buy at the store and purchased $25 worth of
 2        cannabis. All items were booked into
          evidence.
 3
          Evidence: Nov. 26, 2019 Search Warrant at
 4        9-10—Attached as Ex. 1 to Officer Garzon
          Declaration
 5
 6        Defendants’ Response:
 7
 8   16   UF: Based on their investigation and
          observations, the officers believed cannabis
 9        was being sold illegally at the store and that
          the business had not complied with state
10        and city licensing requirements, all in
          violation of California Health and Safety
11        Code §§ 11359, 11360 and 11366, as well
          as L.A.M.C. §104.15.
12
          Evidence: Nov. 26, 2019 Search Warrant at
13        1—Attached as Ex. 1 to Officer Garzon
          Declaration
14
15        Defendants’ Response:
16
17   17   UF: Officer Garzon then drafted and sought
18        approval for a search warrant for the store.
          On November 26, 2019, Judge Kevin S.
19        Rosenberg reviewed and signed the
          warrant.
20        Evidence: Nov. 26, 2019 Search Warrant at
21        10— Attached as Ex. 1 to Officer Garzon
          Declaration
22
23        Defendants’ Response:

24
25   18   UF: The search warrant was executed on
          November 26, 2019. Officers arrested four
26        individuals, including plaintiff Matthew
          Horton and seized 12 pounds of cannabis
27        from the business.

28        Evidence: Jan. 6, 2020 Search Warrant at
          10—Attached as Ex. 2 to Officer Garzon
          Declaration

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 1        Defendants’ Response:
 2
 3   19   UF: On December 17, 2019, Detective
          Malabuyo confirmed that Blvck Cannabis
 4        did not have a license from the Department
          of Cannabis Regulation or Bureau of
 5        Cannabis Control.
 6        Evidence: Jan. 6, 2020 Search Warrant at
          10-11—Attached as Ex. 2 to Officer
 7        Garzon Declaration
 8
          Defendants’ Response:
 9
10
11   20   UF: On December 17, 2019, Malabuyo
          entered the store’s lobby and recognized an
12        employee who was arrested on November
          26, 2019, during the execution of the first
13        search warrant, for violating Health and
          Safety Code § 11366. The employee
14        buzzed Malabuyo past the front door.

15        Evidence: Jan. 6, 2020 Search Warrant at
          10-11—Attached as Ex. 2 to Officer
16        Garzon Declaration

17        Defendants’ Response:
18
19   21   UF: Malabuyo specifically asked the
20        employee for some good “bud” (street
          vernacular term for green leafy cannabis)
21        and not “hemp” or “CBD.” The employee
          provided Malabuyo with “Caribbean
22        Breeze Indica” and said it was some “good
          stuff.”
23        Evidence: Jan. 6, 2020 Search Warrant at
24        10-11—Attached as Ex. 2 to Officer
          Garzon Declaration
25
26        Defendants’ Response:

27
28   22   UF: The employee opened the container
          and allowed Malabuyo to smell its contents.
          Malabuyo immediately detected the distinct
          odor of cannabis. Malabuyo agreed with the
                                                7
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          employee and said: “That’s some good
 1        shit.” He then purchased $25 worth of
          cannabis and left the store.
 2
          Evidence: Jan. 6, 2020 Search Warrant at
 3        10-11—Attached as Ex. 2 to Officer
          Garzon Declaration
 4
 5        Defendants’ Response:
 6
 7   23   UF: On December 17, 2019, Officer
          Garzon confirmed that Blvck Cannabis was
 8        not licensed by the city Department of
          Cannabis Regulation or state Bureau of
 9        Cannabis Control.
10        Evidence: Jan. 6, 2020 Search Warrant at
          11—Attached as Ex. 2 to Officer Garzon
11        Declaration
12
13        Defendants’ Response:

14
15   24   UF: On December 20, 2019, Detective
          Malabuyo, while acting in an undercover
16        capacity, conducted another controlled buy
          at the store. Malabuyo specifically asked
17        the employee for some good “bud” and not
          “hemp” or “CBD.”
18        Evidence: Jan. 6, 2020 Search Warrant at
19        11—Attached as Ex. 2 to Officer Garzon
          Declaration
20
21        Defendants’ Response:

22
23   25   UF: The employee provided “Blvck Label”
          and pointed to it inside the display case.
24        She opened the clear container and allowed
          Malabuyo to smell its contents. Malabuyo
25        then bought $22 worth of cannabis and left
          the store. The item was booked into
26        evidence.

27        Evidence: Jan. 6, 2020 Search Warrant at
          11—Attached as Ex. 2 to Officer Garzon
28        Declaration



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 1        Defendants’ Response:
 2
 3   26   UF: Based on their investigation and
          observations, the officers believed cannabis
 4        was being sold illegally at the store and that
          the business had not complied with state
 5        and city licensing requirements, all in
          violation of Health and Safety Code §§
 6        11359, 11360 and 11366, as well as
          L.A.M.C. §104.15.
 7
          Evidence: Jan. 6, 2020 Search Warrant at
 8        1-3, 12— Attached as Ex. 2 to Officer
          Garzon Declaration
 9
10        Defendants’ Response:
11
12   27   UF: Officer Garzon then drafted and sought
13        approval for a search warrant for the store.
          On January 6, 2020, Judge Rand S. Rubin
14        reviewed and signed the warrant, which
          was executed later that day.
15        Evidence: Jan. 6, 2020 Search Warrant at
16        1-3, 12— Attached as Ex. 2 to Officer
          Garzon Declaration
17
18        Defendants’ Response:

19
20   28   UF: In addition to narcotics and cash,
          officers seized 9mm firearms and live
21        ammo from the location.

22        Evidence: Jan. 6, 2020 Search Warrant at
          1-3, 12— Attached as Ex. 2 to Officer
23        Garzon Declaration

24        Defendants’ Response:
25
26
27
28



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 1                                 CONCLUSIONS OF LAW
 2                               Summary Judgment Standards
 3 (1)     A court may grant summary judgment in favor of a moving party who demonstrates
 4 “that there is no genuine dispute as to any material fact and that the movant is entitled to
 5 judgment as a matter of law.” Fed. R. Civ. P. 56(a).
 6 (2)     In ruling on a motion for summary judgment, the court must only consider
 7 admissible evidence. Orr v. Bank of America, NT & SA, 285 F.3d 764 (9th Cir. 2002).
 8 (3)     The party moving for summary judgment bears the initial burden of showing the
 9 absence of any genuine issues of material fact. Celotex Corp. v. Catrett, 477 U.S. 317,
10 323 (1986).
11 (4)     The burden then shifts to the non-moving party to identify specific facts showing
12 that there is a genuine issue of material fact. However, “[t]he mere existence of a scintilla
13 of evidence in support of the plaintiff’s position will be insufficient; there must be
14 evidence on which the jury could reasonably find for the plaintiff.” Anderson v. Liberty
15 Lobby, Inc., 477 U.S. 242, 252, 256 (1986).
16 (5)     For purposes of summary judgment, a fact is “material” if it might affect the
17 outcome of the suit under the governing law. A dispute is “genuine” only if the evidence
18 is such that a reasonable jury could find in favor of the non-moving party. Anderson v.
19 Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
20 (6)     The court views the facts, and all rational inferences therefrom, in the light most
21 favorable to the non-moving party. Scott v. Harris, 550 U.S. 372, 378 (2007).
22 (7)     Summary judgment will thus be granted “against a party who fails to make a
23 showing sufficient to establish the existence of an element essential to that party’s case,
24 and on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett,
25 477 U.S. 317, 322 (1986).
26 (8)     Because a plaintiff bears the burden of proof at trial, a defendant may meet the
27 summary judgment standard by pointing to the absence of evidence to support the
28 plaintiff’s case. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).



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 1                                     Delta-9 Overview
 2 (9)       The Agriculture Improvement Act of 2018 (the Farm Bill or Act) legalized the
 3 possession and cultivation of hemp. See 21 U.S.C. § 802(16)(B) (noting that statutory
 4 definition of ‘marijuana’ no longer included hemp).
 5 (10)      Because marijuana and hemp are different varieties of the same plant, the Farm
 6 Act used the concentration of delta-9 THC to distinguish between the two substances.
 7 Delta-9 THC is the active parent ingredient of the psychoactive ingredient in marijuana.
 8 See People v. Ray, 2011 Cal.App.Unpub. LEXIS 181, at *3-4 (March 10, 2011).
 9 (11)     Hemp includes “any part of” the plant Cannabis sativa L. “and all derivatives,
10 extracts, [and] cannabinoids … whether growing or not,” with a delta-9 THC
11 concentration of no more than 0.3 percent on a dry weight basis. See 7 U.S.C. § 1639o(1)
12 (defining hemp); Cal. Health & Safety Code § 11018.5 (defining industrial hemp).
13 (12)     The only statutory metric for distinguishing controlled marijuana from legal hemp
14 is the delta-9 THC concentration level. AK Futures LLC v. Boyd St. Distro, LLC, 35 F.4th
15 682, 686, 690 (9th Cir. 2022).
16 (13)    According to the DEA and FDA, “many cannabis-derived products do not contain
17 the levels of cannabinoids that they claim to contain on their labels.” Id. at 691 (citing
18 Implementation of the Agriculture Improvement Act of 2018, 85 Fed. Reg. 51,639, 51,641
19 (Aug. 21, 2020).) Consequently, laboratory testing is needed in order to determine the
20 percentage of delta-9 THC present in any submitted sample. See id.
21                                State and Local Regulations
22 (14)     In 2017, California enacted the Medicinal and Adult-Use Cannabis Regulation and
23 Safety Act (“MAUCRSA”). Wheeler v. Appellate Division of Superior Court, 72
24 Cal.App.5th 824, 832 (2021).
25 (15)     MAUCRSA imposes civil penalties for “unlicensed commercial cannabis
26 activity,” and provides that in addition to these civil penalties, “criminal penalties shall
27 continue to apply to an unlicensed person engaging in commercial cannabis activity in
28 violation of this division.” Cal. Bus. & Prof. Code § 26038(c).



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 1 (16)     Los Angeles Municipal Code §§ 104.15(a)1 and (b)4 are part of a comprehensive
 2 scheme enacted in 2018 to regulate commercial cannabis activities in the city. Wheeler v.
 3 Appellate Division of Superior Court, 72 Cal.App.5th 824, 831 (2021).
 4 (17)     The ordinance requires all businesses that manufacture, distribute, or sell
 5 medicinal and/or adult-use cannabis in the City to have a city-issued and prominently
 6 displayed license. Wheeler v. Appellate Division of Superior Court, 72 Cal.App.5th 824,
 7 831 (2021). The ordinance imposes criminal penalties for establishing, operating, or
 8 participating in “any unlicensed Commercial Cannabis Activity in the City,” which
 9 includes “renting, leasing to or otherwise allowing any unlicensed Commercial Cannabis
10 Activity … to occupy or use any building or land.” Id.. Violations are subject to nuisance
11 abatement procedures and civil penalties up to $20,000. Violations are also punishable
12 as misdemeanors by a fine up to $1,000 and up to six months in jail. Id. at 831-32.
13 (18)     California Health and Safety Code § 11366 provides that “[e]very person who
14 opens or maintains any place for the purpose of unlawfully selling … any controlled
15 substance … shall be punished by imprisonment in the county jail for a period of not more
16 than one year or the state prison.”
17                       The Warrants Were Based on Probable Cause
18 (19)     The question of whether a reasonable officer could have believed probable cause
19 existed to justify a search or an arrest is an essentially legal question. Act Up!/Portland v.
20 Bagley, 988 F.2d 868, 873 (9th Cir. 1993).
21 (20)     A warrant supported by probable cause compels dismissal of all Fourth
22 Amendment claims based on the procurement and execution of that warrant. See District
23 of Columbia v. Wesby, 138 S. Ct. 577, 589 (2018) (noting that presence of probable cause
24 defeated all of plaintiff’s claims); Barry v. Fowler, 902 F.2d 770, 772-73 (9th Cir. 1990)
25 (upholding directed verdict dismissing plaintiff’s Fourth Amendment claims because “a
26 directed verdict is proper if no reasonable jury could determine that the officer did not
27 have probable cause to arrest”) (citation omitted); Hart v. Parks, 450 F.3d 1059, 1071 (9th
28 Cir. 2006) (affirming summary judgment in favor of defendants and holding that because
     officers had probable cause to arrest plaintiff, plaintiff’s false arrest and malicious

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 1 prosecution claims necessarily failed); Cabrera v. City of Huntington Park, 159 F.3d 374,
 2 380 (9th Cir. 1998) (“To prevail on his section 1983 claim for false arrest … [the plaintiff]
 3 would have to demonstrate that there was no probable cause to arrest him”).
 4 (21)     Where a search warrant is mandated, the reasonableness of search and seizure is
 5 measured in terms of whether probable cause exists. Camara v. Mun. Court of City & Cty.
 6 of San Francisco, 387 U.S. 523, 534 (1967). Probable cause requires a “‘fair probability
 7 that contraband or evidence of a crime will be found in a particular place,’ based on the
 8 totality of circumstances.” Dawson v. City of Seattle, 435 F.3d 1054, 1062 (9th Cir. 2006)
 9 (quoting Illinois v. Gates, 462 U.S. 213, 238 (1983).
10 (22)     According to California cases, probable cause is defined as “a fair probability that
11 contraband or evidence of a crime will be found.” People v. Evans, 200 Cal.App.4th 735,
12 753 (2011) (citations and internal quotation marks omitted).
13 (23)     “[A]fter-the-fact scrutiny by courts of the sufficiency of an affidavit should not
14 take the form of de novo review.” Illinois v. Gates, 462 U.S. 213, 236 (1983). “A
15 magistrate’s determination of probable cause should be paid great deference by reviewing
16 courts.” Id. (citation and internal quotation marks omitted).
17 (24)     Officers may draw on their own experience and specialized training to make
18 inferences from and deductions about the cumulative information available to them that
19 might well elude an untrained person. The fact that other inferences are possible does not
20 mean that there is a triable issue of fact as to whether there was probable cause. Hart v.
21 Parks, 450 F.3d 1059, 1067 (9th Cir. 2006).
22 (25)     A misrepresentation based on an omission—as is alleged in this case—is material
23 only where the omitted facts “cast doubt on the existence of probable cause.” Crowe v.
24 County of San Diego, 593 F.3d 841, 869-70 (9th Cir. 2010).
25 (26)     To succeed on such a claim, a plaintiff must: (1) offer a “substantial showing” that
26 the warrant affidavit contained a false statement or omission that was deliberately false or
27 made with reckless disregard for the truth; and (2) establish that “without the dishonestly
28 included or omitted information the affidavit is insufficient to establish probable cause.”
    Mendocino Envtl. Ctr. v. Mendocino County, 192 F.3d 1283, 1295 (9th Cir.1999).

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 1                     Officer Garzon is Entitled to Qualified Immunity
 2 (27)     To determine if a government official is entitled to qualified immunity, courts must
 3 consider: (1) whether the official’s conduct violated a constitutional right, and (2) whether
 4 that constitutional right was “clearly established” at the time of the alleged misconduct.
 5 Pearson v. Callahan, 555 U.S. 223, 232 (2009). Courts may “exercise their sound
 6 discretion in deciding which of the two prongs of the qualified immunity analysis should
 7 be addressed first in light of the circumstances in the particular case at hand.” Id. at 236.
 8 (28)     “An officer cannot be said to have violated a clearly established right unless the
 9 right’s contours were sufficiently definite that any reasonable official in [his] shoes would
10 have understood that he was violating it, meaning that existing precedent … placed the
11 statutory or constitutional question beyond debate.” City and County of San Francisco v.
12 Sheehan, 135 S.Ct. 1765, 1774 (2015).
13 (29)     The limited number of federal courts that have addressed whether lab testing is
14 required before obtaining a search warrant have held that testing is not required before
15 seeking or executing a warrant. See, e.g., United States v. Hood, 2017 U.S. Dist. LEXIS
16 127599, at *9 (E.D.Tenn. Aug. 11, 2017); United States v. Shaw, 2020 U.S. Dist. LEXIS
17 120293, at *20 (W.D.L.A. Feb. 21, 2020).
18 (30)     In the context of a search with a warrant, qualified immunity is only lost where the
19 warrant application is so lacking in an indicia of probable cause as to render official belief
20 in its existence unreasonable. See United States v. Leon, 468 U.S. 897, 922-23 (1984);
21 Malley v. Briggs, 475 U.S. 335, 344-45 (1986).
22 (31)     An officer does not lose qualified immunity because of a mistaken, yet reasonable
23 belief, nor do they lose immunity because of a reasonable mistake regarding the legality
24 of their actions. Saucier v. Katz, 533 U.S. 194, 205-206 (2001).
25 (32)     In short, “[s]ummary judgment is appropriate if there is any reasonable basis to
26 conclude that probable cause existed.” Cross v. City of Des Moines, 965 F.2d 629, 632
27 (8th Cir. 1992) (emphasis in original); see also Kijonka v. Seitzinger, 363 F.3d 645, 648
28 (7th Cir. 2004); Gilles v. Davis, 427 F.3d 197, 205 (3d Cir. 2005).



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 1                         The Municipal Liability Claims Must Fail
 2 (33)     Without an underlying constitutional violation, the City cannot be held vicariously
 3 liable under Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978). See, e.g., City of Los
 4 Angeles v. Heller, 475 U.S. 796, 799 (1986).
 5 (34)     A Monell claim may be stated: (1) when official policies or established customs
 6 inflict a constitutional injury; (2) when omissions or failures to act amount to a local
 7 government policy of deliberate indifference to constitutional rights; or (3) when a local
 8 government official with final policymaking authority ratifies a subordinate’s
 9 unconstitutional conduct. Clouthier v . County of Contra Costa, 591 F.3d 1232, 1249-50
10 (9th Cir. 2010).
11 (35)     A municipality’s failure to train its police officers may be a basis for § 1983
12 liability if it amounts to deliberate indifference to the rights of persons with whom the
13 police come in contact. City of Canton v. Harris, 489 U.S. 378, 388 (1989). However, a
14 municipality’s culpability “is at its most tenuous where a claim turns on a failure to train.”
15 Connick v. Thompson, 563 U.S. 51, 61 (2011).
16
17
18 DATED: Sept. 9, 2022         Respectfully submitted,
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